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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                CASE NO. 22-CV-81294-CANNON

  DONALD J. TRUMP,

           Plaintiff,

  v.

  UNITED STATES OF AMERICA,

        Defendant.
  ________________________________/

      UNITED STATES’ NOTICE RESPECTING THE COURT’S APPOINTMENT OF A
                              SPECIAL MASTER

           On September 9, 2022, the parties submitted to this Court a joint filing, which, inter

  alia, listed each party’s proposed special master candidates. D.E. 83. In that filing, the

  government noted that it received the Plaintiff’s proposed candidates shortly after 6:00 p.m.

  on September 9, and the parties indicated that they would advise the Court about their

  respective positions on the proposed candidates on Monday, September 12, 2022. Id.

           In accordance with that representation, the government hereby advises the Court that,

  because previous federal judicial experience and engagement in relevant areas of law are

  important qualifications for this position, the government submits that the Court should select

  one of the following three proposed candidates as special master: The Honorable Barbara S.

  Jones (ret.), The Honorable Thomas B. Griffith (ret.), or The Honorable Raymond J. Dearie. 1


  1
      Although Plaintiff characterized Judge Dearie as retired in the joint filing, D.E. 83, the
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  Judges Jones, Griffith, and Dearie each have substantial judicial experience, during which

  they have presided over federal criminal and civil cases, including federal cases involving

  national security and privilege concerns.         The government respectfully opposes the

  appointment of Paul Huck, Jr., who does not appear to have similar experience.

         The government understands that each of the three candidates with prior judicial

  experience also currently employs staff who could assist in timely performing the duties

  assigned to the special master. In selecting among the three candidates, the government

  respectfully requests that the Court consider and select the candidate best positioned to timely

  perform the special master’s assigned responsibilities. 2

                                               Respectfully submitted,

                                               /s Juan Antonio Gonzalez
                                               JUAN ANTONIO GONZALEZ
                                               UNITED STATES ATTORNEY
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                                               99 NE 4th Street, 8th Floor
                                               Miami, FL 33132
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  government’s understanding is that Judge Dearie currently remains on “senior active”
  status. If this Court were to select Judge Dearie as the special master, the government
  would defer to the Court and Judge Dearie to determine whether the special master role
  would constitute outside employment and what rules and/or restrictions, if any, would
  apply to his serving in this capacity.

  2
    Prior to proposing retired Judge Jones and Judge Griffith as special master candidates, the
  government inquired as to their availability, and they both informed the government that
  they were both available immediately and have access to necessary staff to perform the work
  consistent with the schedule that the government proposes. On September 12, 2022, the
  government made the same inquiry of Judge Dearie. Judge Dearie indicated that he also
  was available and could perform the work expeditiously.
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                                     /s Jay I. Bratt
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 12, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices of

  Electronic Filing generated by CM/ECF.




                                                 /s Juan Antonio Gonzalez
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